Case 2:05-cr-20144-.]PI\/| Document 15 Filed 05/25/05 Page 1 of 2 Page|D 17

s se mm M_,U.C.
H\l THE UNITED STATES DISTRICT COURT h
FoR THE WESTERN DISTRICT oF TENNESSEE p§ itan 25 pa ;; 95

 

WESTERN DIVISION
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WCLE' l' “ '\Ai§i,t'§i~t$
UNITED STATES OF AMERICA
V.
05-20] 44-Ml

ANGELINA GRANATA

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on M w 25, 2005 ,the United States Attorney
for this district appeared on behalf of the go\re‘mhqent, and the defendant appeared m person and with
counsel:

 

NAME , who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

%iefendant, who is not in custody, may stand on dig-present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)

(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

5 jimmy @.J

UNITED sTArEs"MAGIsTRATE JUDGE

CHARGES: 21 :846;

U. S. Attorney assigned to Case: D. Henry

Age: 25

   

UNITED sTATE lsTRIC COURT - wTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20144 was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

